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UNITED STATES DISTRICT COURT AUG - 8 2018
NORTHERN DISTRICT OF OHIO
CLERK, U.S. DISTRICT COURT
DISTRICT OF OHIO
EASTERN DIVISION NORTHERN DISTRICT ¢

RYAN D. MALONE,
Civil No. 1:17-cv—02290-BYP

PERLE LONER, Crim. No. 1:14-cr-438-1

Ve
AMENDED PLEADINGS TO 28 U.S.C. § 2255

UNITED STATES OF AMERICA, COLLATERAL ATTACK ON A CONVICTION

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Respondent.

To begin, . it must never be overlooked: "As every schoolchild learns, our
Constitution establishes a system of dual sovereignty between the States and the
Federal Government." Gregory v. Ashcroft, 501 U.S. 452, 457 (1991).

Thus, quoting James Madison, the Court has observed:

"Tn our constitutional structure, the federal government's powers are
supposed to be "few and defined," while the powers reserved to the States
"remain ... numerous and indefinite." The Federalist No. 45, p. 328 (B.
Wright ed. 1961)(Madison); McCulloch v. Maryland, 4 Wheat. 316, 405, 4 L.
Ed. 579 (1819)."

Artis v. District of Columbia, 199 L.Bd.2d 473, 497 (2018).

This having been said, we commence with the amended claims, with the Court
requested to take notice that the previously filed claims and issues are still
reserved for consideration, and that these amended claims are to be considered
as in addition to those already on file in this collateral attack, sub judice.
Te Ground One: INEFFECTIVE ASSISTANCE OF COUNSEL—FAILURE TO CHALLENGE

LACK OF FEDERAL JURISDICTION OVER CONDUCT THE CONSTITUTION
PRECLUDES THE FEDERAL GOVERNMENT FROM PROSECUTING

The Supreme Court has consistently admonished:

"The Federal Government "is acknowledged by all to be one of enumera-—
ted powers." ... That is, rather than granting general authority to per-
form all the conceivable functions of government, the Constitution lists,
or enumerates, the Federal Government's powers. ... The enumeration of pow-
ers is also a limitation of powers, because "[t]he enumeration presupposes

something not enumerated." ... The Constitution's express conferral of some
powers makes clear that it does not grant others. And the Federal Govern-

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ment “can exercise only the powers granted to it." ...

"The Federal Government has expanded dramatically over the past two
centuries, but it still must show that a constitutional grant of power
authorizes each of its actions."

Nat'l Fed'n of Indep. Bus. v. Sebelius, 132 S.Ct. 2566, 2577, 2578 (2012) (cita-
tions omitted). Accor, United States v. Lopez, 514 U.S. 549, 552 (1995).

When it comes to the regulation of firearms, and Controlled Substances,
"t]he Government frequently defends federal criminal legislation on the ground
that the legislation is authorized pursuant to Congree's power to regulate inter-
state commerce," Bond v. United States ("Bond II"), 134 S.Ct. 2077, 2087 (2014),
when it cannot do so, when considering the whole purpose for the Framers to have
included the Commerce Clause into the Constitution in the first place.

In this case, the Court instructs: "The object of construction, applied to
a constitution, is to give effect to the intent of its framers, and of the peo-
ple adopting it." Lake County v. Rollins, 130 U.S. 662, 670 (1889).

Nowhere, in the Clause, did the Framers provide for the regulation of any
person and his conduct that may have a "substantial effect" on commerce, but for
the regulation of the several States, in order to prevent them from interfering
with the flow of commerce through their jurisdicitons by imposing duties of any
kind on the goods flowing through their jurisdictions, on their way to other
States beyond those borders. Or, as the Supreme Court put it, it is a means of
"oreventing a State from retreating into economic isolation or jeopardizing the
welfare of the Nation as a whole, as it would do if it were free to place bur-
dens on the flow of commerce across its borders that commerce wholly within those
borders would not bear." Oklahoma Tax Comm'n v. Jefferson Lines, Inc., 514 U.S.
175, 179-80 (1995) (citations omitted).

That the Commerce Clause was put into the Constitution to promote for an

evenhanded flow of commerce, free from the jealousies of other States, and the

competition that usually came aboutm the Court made clear why the Clause was im-

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portant enough to be included in the Constitution, when the Court observed:
"The provision thus "'reflect[s] a central concern of the Framers
that was an immediate reason for calling the Constitutional Convention:
the conviction that in order to succeed, the new Union would have to a-
void the tendencies toward economic Balkanization that had plagued rela-—

tions among the Colonies and later among the States under the Articles
of Confederation. '""

Ibid. (citations omitted).

In short, the Commerce Clause does not reach the conduct of individuals at
all, but only the conduct and actions of the several States, and the use of the
so-called commerce power of Congress to enact criminal legislation is more than
clearly erroseaus,-it “is unconstitutional, and renders all federal criminal laws
that base their existence on the Commerce Clause void laws, and must be treated
as such, as the Court observed when dealing with purported laws that have no
constitutional basis for existence:

"We have upheld laws that are "'convenient, or useful' or 'conducive'
to the authority's ‘beneficial exercise.'" ... But we have also carried
out our responsibility to declare unconstitutional those laws that under-
mine the structure of government established by the Constitution. Such
laws, which are not "consist[ent] with the letter and spirit of the Con-
stitution," ... are not "proper [means] for carrying into Execution" Con-
gress's enumerated powers. Rather, they are, "in the words of The Feder-
alist, ‘merely acts of usurpation' which ‘deserve to be treated as such.'""

Nat'l Fed'n, supra, 132 S.Ct., at 2592 (citations omitted).

Because neither firearm possession, or controlled substances, is enumerated
in the Constitution for federal involvement or regulation, the Commerce Clause
notwithstanding, as pointed out, supra, the_purported federal criminal case was
beyond this Court's jurisdiction to even sit in judgment of at all.

So, where did Congress obtain authorization to legislate over any of the
conducts involved in this case?

"This is a vital question; for nothing is more certain than that be-
neficient aims, however great or well directed, can never serve in lieu
of constitutional power.

"The ruling and firmly established principle is that the powers which

the general government may exercise are only those specifically enumerated
in the Constitution, and such implied powers as are necessary and proper

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to carry into effect the enumerated powers. Whether the end sought to be
attained by an act of Congress is legitimate is wholly a matter of consti-
tutional power and not at all of legislative discretion. Legislative con-
gressional discretion begins with the choice of means and ends with the a-
doption of methods and details to carry the delegated powers into effect.
The distinction between these two things—power and discretion—is not only
very plain but very important. Por while the powers are rigidly limited to
the enumerations of the Constitution, the means which may be employed to
carry the powers into effect are not restricted, save that they must be ap-
propriate, plainly adapted to the end, and not prohibited by, but consis-
tent with, the letter and spirit of the Constitution. ... Thus, it may be
said that to a constitutional end many ways are cpen; but to an end not
within the terms of the Constitution, all ways are closed."

Carter v. Carter Coal Co., 298 U.S. 238, 291 (1936)(citation omitted).

To allow Congress to get away with enacting laws that are not within its
power, under the limits of the Constitution, has been addressed by the Court,
and the Court made it plain what must be taken into consideration with a law
"that the effect and operation of the law may incidentally extend beyond the lim-
itation of the power," Pennsylvania v. The Wheeling and Belmont Bridge Co., 18 How.
421, 434 (1856), admonishing:

"Upon any such interpretation, the principal object of the framers of
the instrument in conferring the power would be sacrificed to the subordi-
nate consequences resulting from its exercise. These consequences are very
proper considerations to be urged upon Congress for the purpose of dissuad-
ing that body from its exercise, but afford no ground for denying the power
itself, or the right to exercise it."

Ibid.

In other words, if the power to enact a certain law is within the enumera-
tion of the subjects listed in Article I, § 8, for federal reach, Congress may
enact a law reaching that subject; if not, it has no constitutional authority to
enact the law, as was inferred by Chief Justice Marshall:

"Let the end be legitimate, let it be within the scope of the consti-
tution, and all means which are appropriate, which are plainly adapted to
that end, which are not prohibited, but consist with the letter and spirit
of the constitution, are constitutional."

McCulloch v. Maryland, 4 Wheat. 316, 421 (1819).

Tf it is not within the enumeration of subject-conducts conferred upon for

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federal legislation, the Court's admonition that it is "the responsibility of
this Court to enforce the limits on federal power by striking down acts of Con-
gress that transgress those limits," Nat'l Fed'n, supra, at 2579-80 (citation
omitted), is now before this Court, and must be exercised as to both 18 U.S.C.
§ 924, and the Controlled Substances Act that is refered to to raise the sen-
encing level in this case—a sentence that should not have even been imposed on
a conviction for conduct the Constitution forbids the Federal Government from
even reaching in its legislation, thus enacting into a purported federal crim-
inal prohibition.

As Justice Thomas, in a concurring opinion, so eloquently put it, when it
comes to ensuring "the protection of our fundamental liberties," Wyeth v. Levine,
555 U.S. 555, 583 (2009)(citation omitted):

"(T]he "Constitution establishes a system of dual sovereignty between
the States and the Federal Government." ... The Framers adopted this "'con-
stitutionally mandated balance of power,'" ... to "reduce the risk of tyr-
anny and abuse from either front," because a "federalist structure of joint
sovereigns preserves to the people numerous advantages," .... Furthermore,
as the Framers observed, the "compound republic of America" provides "a
double security ... to the rights of the people" because "the power surren-
dered by the people is first divided between two distinct governments, and
then the portion allotted to each subdivided among distinct and separate
departments." ...

"As a result, in order to protect the delicate balance of power manda-—
ted by the Constitution, the Supremacy Clause must operate only in accor-
dance with its terms. ...

"With respect to federal laws, then, the Supremacy Clause gives "su-
preme" status only to those that are "made in Pursuance” of "[t]Jhis Consti-
tution." ...

"Federal laws "made in Pursuance"” of this Constitution must comply with
two key structural limitations in the Constitution that ensure that the Fed-
eral Government does not amass too much power at the expense of the States.
The first structural limitation, ... is "the Constitution's conferral upon
Congress of not all governmental powers, but only discrete, enumerated ones."

"The second structural limitation is the complex set of procedures that
Congress and the President must follow to enact "Laws of the United States.""

Id., 555 U.S., at 583-584, 585-586 (citations omitted).

In essence, this is the beginning and the end of the discussion: if the sub-
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ject for which Congress is to legislate over, and enact a law addressing that
subject, is not within the enumeration in the Constitution for federal involve-
ment, the Court has provided the admonition under such circumstances, pointing
out: "If no enumerated power authorizes Congress to pass a certain law, that law
may not be enacted, even if it would not violate any of the express prohibitions
in the Bill of Rights or elsewhere in the Constitution." Nat'l Fed'n, supra, at
2577.

Justice Ginsburg put it in a way that leaves no doubt that the courts must
notice a laws unconstitutionality, and address it in a proceeding such as this,
when she wrote:

"Other defendants might assert that a law exceeds Congress' power be-
cause it violates the Ex Post Facto Clause, or the Establishment Clause,
or the Due Process Clause. Whatever the claim, success on the merits would
require the reversal of the conviction. “An offence created by fan uncon-
stitutional law]," the Court has held, "is not a crime." ..."A conviction
under [such a law] is not merely erroneous but is illegal and void, and can-
not be a legal cause of imprisonment." ... If a law is invalid as applied
to the criminal defendant's conduct, the defendant is entitled to go free.

"For this reason, a court has no "prudential" license to decline to
consider whether the statute under which the defendant has been charged
lacks constitutional application to her conduct. ...

"In short, a law "beyond the power of Congress," for any reason, is
"no law at all." ... The validity of [defendant's] conviction depends upon
whether the Constitution permits Congress to enact [the law]. [The] claim
that it does not must be considered and decided on the merits.”

Bond v. United States ("Bond I"), 131 S.ct. 2355, 2367-68 (2011)(citations omit-
ted, alterations added)(Ginsburg, J., with whom Breyer, J., joins, concurring).
Thus, with the federal courts having a "primary role—"to protect the rights
of the individual that are embodied in the Federal Constitution," Pennsylvania v.
Lebron, 518 U.S. 938, 950 (1996)(citation omitted), it is incumbent on this Tri-
bunal to take cognizance of the claims raised in these amended pleadings, “when
justice so requires," Rule 15(a)(2), Fed.R.Civ.P., and reach the merits that con-
clusively set out "substantive" issues of the sort that raise questions whether

the jurisdiction of this Court over the "subject-conduct" of this case (subject-
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matter jurisdiction) ever existed over conduct the Constitution precludes the
Government from prosecuting, thus demonstrating that not even personal juris—
diction over Petitioner existed.

"First, personal jurisdiction requires a forum-by-forum, or sover-
eign-by-sovereign, analysis. ... Personal jurisdiction, of course, re-
stricts "judicial power not as a matter of sovereignty, but as a matter
of individual liberty," for due process protects the individual's right
to be subject only to lawful power. ... But whether a judicial judgment
is lawful depends on whether the sovereign has authority to render it."

McIntyre Mach., Ltd. v. Nicastro, 131 S.Ct. 2780, 2789 (2011)(citations omitted).

As to a showing that the statutory provisions must be:struck:down asibeing
unconstitutional acts that are beyond the power of Congress, the concurring
opinion of the Justices makes it plain what must be considered, writing:

"Due respect for the Legislative Branch requires that we exercise
our power to strike down enactments sparingly. For this reason, "[wJhen
the validity of an act of Congress is drawn in question, and even if a
serious doubt of constitutionality is raised, it is a cardinal principle
that this Court will first ascertain whether a construction of the stat-
ute is fairly possible by which the question may be avoided." ...

"But our duty to avoid constitutional questions through statutory
construction is not unlimited: it is subject to the condition that the
construction adopted be "fairly possible." As Chief Justice Taft warned,
"amendment may not be substituted for construction, and ... a court may
not exercise legislative functions to save the law from conflict with con-
stitutional limitation." ... Justice Brandeis, ... is frequently cited as
the difinitive statement of the rule of "constitutional avoidance," him-
self cautioned: "The court may not, in order to avoid holding a statute
unconstitutional, engraft upon it an exception or other provision. ...
Neither may it do so to avoid having to resolve a constitutional doubt."
«+» Adoption of a particular construction to avoid a constitutional ruling,
Justice Brandeis states, was appropriate only "where a statute is equally
susceptible of two constructions, under one of which it is clearly valid
and under the other of which it may be unconstitutional.""

Lowe v. S.E.C., 472 U.S. 181, 212 (1985)(White, J., with whom The Chief Justice,
and Rehnquist, J., join, concurring)(citations omitted).
Relying on relevant case law, Justice Stevens has admonished:
"Relatedly, rather than evaluate liberty claims on an abstract plane,
the Court has “required in substantive-—due-process cases a ‘careful de-
scription' of the asserted fundamental liberty interest." ... And just as

we have required such careful description from the litigants, we have re-
quired of ourselves that we "focus on the allegations in the complaint to

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determine how petitioner describes the constitutional right at stake.""
McDonald v. Chicago, 177 L.Ed.2d 894, 985 (2010)(citations omitted) (Stevens, J.,
dissenting).

With the firearms federal laws, and the Controlled Substances Act, neither
of the two acts can be construed but one way: they are unconstitutional because
the Constitution does not include the regulation of either in the enumeration of
powers for Congress to enact such prohibitions, the Commerce Clause notwithstand-
ing for the reasons and matters of law set out in this Memorandum in Support of
this collateral attack on the convictions, and brings into play a recent case of
the Supreme Court, where the question presented "is whether a guilty plea by it-
self bars a federal criminal defendant from challenging the constitutionality of
the statute of conviction," and the Court held that it did not. Class v. United
States, 138 S.ct. 798, 803 (February 21, 2018).

In the case of Johnson v. United States, 135 S.ct. 2551 (2015), the Court
"held the residual clause" "of the Armed Career Criminal Act of 1984, 18 U.S.C.
§ 924(e)(2)(B)(ii) ... void for vagueness." See Welch v. United States, 136 S.
Ct. 1257, 1260-61 (2016), where "[tJhe void-for-vagueness doctrine prohibits the
government from imposing sanctions "under a criminal law so vague that it fails
to give ordinary people fair notice of the conduct it punishes, or so standard-
less that it invites arbitrary enforcement."" Id., 136 S.Ct., at 1262 (citing
Johnson, 135 S.Ct., at 2556).

This case, on the other hand, presents the claim that the statute under
which Petitioner was charged and prosecuted under, 18 U.S.C. §§ 922 and 924, de-
fines conduct for which the Government is precluded from even reaching by legis~
lation, much less prosecuting under it, even where a defendant enters a plea of

guilty to the charge, in this case a charge the Government is constitutionally

proscribed from prosecuting at all.
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The principle is quite elementary, really. Although their has been no new
"substantive rule" announced by the Court, it bears noticing, as the Court ex-
plained:

"If, however, the Constitution establishes a rule and requires that
the rule have retroactive application, then a state court's refusal to
give the rule retroactive effect is reviewable by this Court. ...

"Teague v. Lane, 489 U.S. 288, ... recognized, however, two catego-
ries of rules that are not subject to its general retroactive bar. First,
courts must give retroactive effect to new substantive rules of constitu-
tional law. Substantive rules include "rules forbidding criminal punish-
ment of certain primary conduct," as well as "rules prohibiting a certain
category of punishment for a class of defendants because of their status
or offense." ...

"This Court's precedents addressing the nature of substantive rules,
their differences from procedural rules, and their history of retroactive
application establish that the Constitution requires substantive rules to
have retroactive effect regardless of when a conviction became final."

Montgomery v. Louisiana, 136 S.Ct. 718, 727, 728, 729 (2016)(citations omitted).
When the Framers enumerated the powers of the Federal Government, thus of

Congress, as to what conduct the Government was limited to reaching and enforc-

ing by criminal laws, they set out "substantive rules" that have prospective

effect, and, therefore, sets the limits to the types of conduct the Government

is limited to prosecuting in a court of law. Therefore, it goes without saying:

"In support of its holding that a conviction obtained under an un-

constitutional law warrants habeas relief, the Siebold Court explained
that "[aJn unconstitutional law is void, and is as no law." Ibid. A
penalty imposed pursuant to an unconstitutional law is no less void be~
cause the prisoner's sentence became final before the law was held un-
constitutional. There is no grandfather clause that permits States to
enforce punishments the Constitution forbids. To conclude otherwise
would undercut the Constitution's substantive guarantees."

Montgomery, supra, 136 S.Ct., at 731 (citation omitted).

On this claim, alone, the conviction must be reversed, and the indictment

dismissed with prejudice, on want of jurisdiction principles of law.

II. Ground Two: INEFFECTIVE ASSISTANCE OF COUNSEL—FAILURE TO CHALLENGE
LACK OF TERRITORIAL JURISDICTION OF THE COURT AND OF THE
GOVERNMENT
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An established principle of jurisdictional law is that, while a parcel of
land is not a state, but is within the boundaries of the United States, the
Court has made clear:

"By the Constitution, as is now well settled, the United States,
having rightfully acquired the territories, and being the only govern-
ment which can impose laws upon them, have the entire dominion and sov-

erignty, national and municipal, Federal and state, over all the terri-
tories, so long as they remain in a territorial condition."

Shively v. Bowlby, 152 U.S. 1, 48 (1894)(citations omitted).

The consequences of this constitutional principle is that the Federal Gov-
ernment is precluded from enforcing its federal laws, when certain conduct, not
within the enumeration of powers of Congress in the Legislative Article, is al-
leged to have been committed on such area that is within the territorial juris-
diction of the sovereign State. Once the territory loses its "territorial con-
dition," by becoming a State, the Court made clear:

"[T]Jhere was a transfer of sovereignty; a territory became a state,
and it was held "the territorial government ceased to exist and all au-
thority under it, including the laws organizing its courts of justice."

Bird v. United States, 187 U.S. 118, 124 (1902)(citations omitted).

As an example that the district courts cannot adjudicate cases in which a
crime was alleged to have been committed within a State, the Court asked and
answered the question as to what is the extent of jurisdiction that a State does
possess, by writing:

"(T]he jurisdiction of a state is co-extensive with its territory;
co-extensive with its legislative power. ...

"To bring an offense within the jurisdiction of the courts of the
Union, it must have been committed in [an area] out of the jurisdiction
of any state. It is not the offense committed, but the [place] in which
it is committed, which must be out of the jurisdiction of the state. ...

"Congress may pass all laws which are necessary and proper for giv-
ing the most complete effect to this power. Still, the general jurisdic-
tion over the place, subject to this grant of power, adheres to the terri-

tory, aS a portion of sovereignty not yet given away."

United States v. Bevans, 3 Wheat. 336, 386-87, 387-88, 389 (1818) (alterations

added).

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Stated another way, relevant to this argument:

"Generally speaking, within any state of this Union the preservation
of the peace and the protection of person and property are the functions
of the state government, and are not part of the primary duty, as least,
of the nation. The laws of Congress in respect to those matters do not
extend into the territorial limits of the states, but have force only in
the District of Columbia, and other places that are within the exclusive
jurisdiction of the national government."

Caha v. United States, 152 U.S. 211, 215 (1894).
The Court, in explaining the obvious fact that each of the two sovereigns

is relegated to its own territorial boundaries for law enforcement, pointed
out:

"This constitutionally mandated division of authority "was adopted
by the Framers to ensure protection of our fundamental liberties." ...
"Just as the separation and independence of the coordinate branches of
the Federal Government serve to prevent the accumulation of excessive
power in any one branch, a healthy balance of power between the States
and the Federal Government will reduce the risk of tyranny and abuse from
either front."

Lopez, supra 514 U.S. at 552 (citations omitted).

And the Tenth Amendment is supposed to prevent exactly what the Government
has been transgressing ever since the drafting of the Bill of Rights, and the
principle for the Tenth Amendment was explained, thus:

"The principles of limited national powers and state sovereignty are
intertwined. While neither originates in the Tenth Amendment, both are
expressed by it. Impermissible interference with state sovereignty is not
within the enumerated powers of the National Government, ... and action
that exceeds the National Government's powers undermines the sovereign in-
terests of States. ... The unconstitutional action can cause concommitent
injury to persons in individual cases. ...

"In this case, however, where the litigant is a party to an otherwise
justiciable case of controversy, [he] is not forbidden to object that [his]
injury results from disregard of the federal structure of our Government.
Whether the Tenth Amendment is regarded as simply a "'trusim,'" ... or wheth-
er is has independent force of its own, the result here is the same."

Bond I, supra, 131 S.Ct., at 2366-67 (citations omitted, alterations added).
In explaining the principles of individual sovereignty of the States, the
Court pointed out:

"In 1842, the Court declared that for the 13 original States, the peo-
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ple of each State, based on principles of sovereignty, "hold the absolute
right to all their navigable waters and the soils under them," subject
only to rights surrendered and powers granted by the constitution to the
Federal Government. ... In a series of 19th-century cases, the Court deter-
mined that the same principle applied to States later admitted to the Un-
ion, because the States in the Union are coequal sovereigns under the Con-
stitution. ... These precedents are the basis for the equal-footing doc-
trine, under which a States' title to these lands was "conferred not by
Congress but by the Constitution itself.""

PPL Montana, LLC v. Montana, 565 U.S. 576, 182 L.Ed.2d 77, 91 (2012)(citations
omitted).

In a nutshell, the Federal Government is precluded from enforcing its pur-
ported federal criminal laws, such as the firearms act involved in this case, in
the States who have equal laws proscribing such conduct, and the Tenth Amendment
enforces the prevention of federal encroachment into the States' sovereign juris-
diction, and requires the conviction in this case to be reversed, and the indict-

ment dismissed with prejudice on want of jurisdiction.

III. Ground Three: ARTICLE III DISTRICT COURTS ARE PRECLUDED FROM BEING VESTED
WITH "JUDICIAL POWER" OVER CRIMINAL CASES, WHEN CONSTRUING
ARTICLE III, § 2, OF THE CONSTITUTION

When it comes to the cases the federal courts may exercise jurisdiction over,
the Court admonished:

"We think a case arising under the constitution or laws of the United
States, is cognizable in the courts of the Union, whoever may be the par-
ties to that case.

"Had any doubt existed with respect to the just construction of this
part of the section, that doubt would have been removed by the enumeration
of those cases to which the jurisdiction of the federal courts is extended,
in consequence of the character of the parties. In that enumeration, we
find, "controversies between two or more states, between a state and citi-
zen of another state," "and between a state and foreign states, citizens,
of subjects."

Cohens v. Virginia, 6 Wheat. 264, 383 (1821).
Of course, that case was one between a citizen and a State, and, of course,
was a civil suit, not criminal case at all.

When it required a more concise explanation of what "the enumeration of

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those cases to which the jurisdiction of the federal courts is extended" meant,
id., at 383, we had to wait until the Court addressed Article III, § 2, of the
Constitution in a later case, where the Court instructed:

"we first direct attention to the carefully chosen words of § 2, cl.
1, Art. 3. By that clause the judicial power is extended to all cases in
law and equity arising under the Constitution, etc.; to all cases affect-
ing ambassadors, other public ministers and consuls; and to all cases of
admiralty and maritime jurisdiction. Then the comprehensive word "all" is
dropped, and the enumeration continues in terms to apply to controversies
(but not to "all) to which the United States shall be a party; to contro-
versies between two or more states, etc. The use of the word "all" in
some cases, and its omission in others, cannot be regarded as accidental,
under the rule stated in an early case, ... and ever since fully accepted,
that__"In expounding the Constitution of the United States, every word must
have its due force, and appropriate meaning; for it is evident from the
whole instrument, that no word was winecessarily used, or needlessly added.
The many discussions which have taken place upon the construction of the
Constitution, have proved the correctness of this proposition; and shown
the high talent, the caution, and the foresight of the illustrious men who
framed it. Every word appears to have been weighed with the utmost delib-
eration, and effect to have been fully understood."

Williams v. United States, 289 U.S. 553, 572-73 (1933)(citations omitted).
In a later case, involving two of the classes of cases to which the "judicial
Power" is extended—"maritime and admiralty Jurisdiction—the Court refered to

those classes of cases thus:

"These provisions of Article 3 are two of the nine separately enumera-
ted classes of cases to which "judicial power" was extended by the Consti-
tution and which thereby authorized grants by Congress of "judicial Power"
to the inferior federal courts. The vast stream of litigation which has
flowed through these courts from the beginning has done so on the assump-
tion that, in dealing with a subject as technical as the jurisdiction of
the courts, the Framers, predominently lawyers, used precise, differentiat-
ing and not redundant language."

Romero v. Int'l Term. Operat. Co., 358 U.S. 354, 364 (1959)(citations omitted).
Again, there has been no mention in regard to the "judicial Power" not ex-
tending to criminal cases, until 1998, andithus announced, and pointing out:
"Article III, § 2, of the Constitution extends the "judicial Power"
of the United States only to "Cases" and "Controversies." We have always
taken this to mean cases and controversies of the sort traditionally amen-

able to, and resolved by, the judicial process. ... Such a meaning is fair-
ly implied by the text, since otherwise the purported restriction upon the

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judicial power would scarcely be a restriction at all. Every criminal in-
vestigation conducted by the Executive is a "case," and every policy issue
resolved by congressional legislation involves a "controversy." These are
not, however, the sort of cases and controversies that Article III, § 2,
refers to, since "the Constitution's central mechanism of separation of pow-
ers depends largely upon common understanding of what activities are appro-
priate to legislatures, to executives, and to courts." ... Standing to sue
is part of the common understanding of what it takes to make a justiciable

case."

Steel Co. v. Citizens for Better Env., 523 U.S. 83, 101-102 (1998) (citations omit-
ted).

In order for the United States to be a party in any case, as a plaintiff,
as it purports to be in a federal criminal case—cases the "judicial Power" does
not extend to, under the interpretation and construction of the Judicial Article
in the foregoing cases—the plaintiff, the Government, in this case, must demon-
strate it has suffered an injury of some sort, as described by the Court, when it
admonished:

"To establish Article III standing, an injury must be "concrete, par-
ticularized, and actual or imminent; fairly traceable to the challenged
action [of a defendant], and redressable by a favorable ruling." ... Al-
though imminence is concededly a somewhat elastic concept, it cannot be
stretched beyond its purpose—that the injury is certainly impending." .
++» Thus, we have repeatedly reiterated that "threatened injury must be
certainly impending to constitute injury in fact," and that "[a]llegations
of possible future injury" are not sufficient."

Clapper v. Amnesty Int'l USA, 568 U.S. 398, 409 (2013) (citations omitted).

Thus, the possession of a firearm by Petitioner, being either a prohibited
person or convicted felon, in no way, fashion, or manner causes any type of an
“injury" that the United States Government can complain about, in order to bring
a purported criminal prosecution, for conduct the Constitution precludes the Fed-
eral Government from reaching by legislation, in a court of law that cannot he
vested with "judicial Power" over criminal "cases" at all, and defeats the Gov-

ernment's attempt to circumvent Article III standing to bring a case to one of

its district courts that cannot sit in judgment over criminal cases at all.

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Thus, because this collateral attack is an attack on the lack of subject-
matter jurisdiction of this Court over the subject-conduct that the Constitu-
tion does not permit Congress to enact for Executive Branch enforcement within

the States themselves, under our form of federalism the Constitution establishes,

the Supreme Court has admonished:

"Bain's elastic concept of jurisdiction is not what the term "juris-
diction" means today, i.e., "the courts' statutory or constitutional power
to adjudicate the case." ... This latter concept of subject-matter juris-
diction, because it involves a court's power to hear a case, can never be
forfeited or waived. Consequently, defects in subject-matter jurisdiction
require correction regardless of whether the error was raised in district
court."

United States v. Cotton, 535 U.S. 625, 630 (2002)(citations omitted).

Continuing, the Court observed:

"Post-Bain cases confirm that defects in an indictment do not deprive
a court of its power to adjudicate a case, In Lamar v. United States, ...,
the Court rejected the claim that "the court had no jurisdiction because
the indictment does not charge a crime against the United States." ... Jus-
tice Jolmes explained that a district court has "jurisdiction of all crimes
cognizable under the authority of the United States ... [and] [t]he objec-
tion that the indictment does not charge a crime against the United States
goes only to the merits of the case.""

Id., 535 U.S. 630-31 (citations omitted, emphasis added).

But, when the Constitution acts as a bar on the power of Congress to legis-
late over conduct not enumerated in the Constitution for federal involvement, the
argument that "the indictment does not charge a crime against the United States"
is a valid one, since the only crimes that are cognizable "under the authority
of the United States" are those which are specifically enumerated in the Consti-
tution, as Chief Justice Marshall declared in McCulloch, supra, 4 Wheat., at 416-
417, which was reiterated by Justice Thomas, in Taylor v. United States, 136 S.

Ct. 2074 (2016), pointing out:

"The Constitution expressly delegates to Congress authority over only
four specific crimes: counterfeiting securities and coin of the United
States, Art. I, § 8, cl. 6; piracies and felonies committed on the high
seas, Art. I, § 8, cl. 10; offenses against the law of nations, ibid.;

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and treason, Art. III, § 3, cl. 2. Given these limited grants of federal
power, it is "clea[r] that Congress cannot punish feldénies:generally.""

Id., 136 S.Ct., at 2082-83 (Thomas, J., dissenting).

To illustrate the point that the Federal Government cannot prosecute any
criminal case in the district courts, for conduct the Government is precluded
from reaching, the Supreme Court found that the power of the Government is "made
up of concessions from the several states," and in like fashion the "judicial
power of the United States is a consistent part of those concessions." United
States v. Hudson, 7 Cranch 32, 33 (1812). Furthermore, although the district
courts of the United States are created by the general government, those courts
"possess[] no jurisdiction but what is given them by the power that creates them,
and can be vested with none but what the power ceded to the general government
will authorize them to confer." Ibid. (emphasis added).

In other words:

"The Constitution must. have given to the court the capacity to take
it, and an act of Congress must have supplied it. Their concurrence is
necessary to vest it."

Nashville v. Cooper, 6 Wall. 247, 252 (1868)(emphasis added). See also Finley

v. United States, 490 U.S. 545, 548 (1989) (same).
And that is what the reasoning for conferring the police power solely to

the States over crime, thus adjudication of them in State courts, is a given,

as inferred when the Court admonished:

"In our federal system, the National Government possesses only limited
powers; the States and the people retain the remainder. The States have
broad authority to enact legislation for the public good—what we have of-
ten called a "police power." ... The Federal Government, by contrast, has
no such authority and "can exercise only the powers granted to it," ... in-
cluding the power to make "all Laws which shall be necessary and proper for
carrying into Execution" the enumerated powers, U.S. Const., Art. I, § 8,
cl. 18. For nearly two centuries it has been "clear" that, lacking a po-
lice power, "Congress cannot punish felonies generally." ... A criminal act
committed wholly within a State "cannot be made an offence against the Uni-
ted States, unless it have some relation to the execution of a power of Con-
gress, or to some matter within the jurisdiction of the United States.""

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Bond II, supra, 134 S.Ct., at 2086 (citations omitted).

With the limits of the “Judicial Power" extendable only to cases and con-
troversies of the kind the Court made clear that the enumeration within Article
III, § 2, limited, it is accepted that if no criminal laws, other than those set
out in the Constitution in Art. I, § 8, cls. 6 and 10, and Art. III, § 3, cl. 2,
it is understood that the Framers would not confer upon Congress any power to
vest the district court with criminal jurisdiction over conduct left exclusively
to the "police power" of the States, and not the federal courts at all.

On these claims, supra, it is shown this Court lacked subject-matter juris-—
diction over the conduct charged, and the person of the Petitioner, and requires
the reversal of the void conviction and dismissal of the indictment with preju-

dice.

The question begs to be asked: Whether on these claims of a showing of the
continuous "affirmative misconduct" on the part of the Government «would this
Court impose equitable estoppel against the Government, where this misconduct,
of charging and prosecuting individuals, in district courts lacking criminal
“judicial Power," for conduct the prosecutors knew or reasonable should have
known the Constitution, with its limits on federal power, does not confer upon
Congress to legislate over the charged conducts in the thousands upon thousands
of purported federal criminal cases.ongoing for scores of years in the Nation.

In the case of Michigan Express, Inc. v. United States, the Sixth Circuit

has observed:

""Estoppel is an equitable doctrine which a court may invoke to avoid
injustice in particular cases." ... "The traditional elements of equitable
estoppel are: (1) misrepresentation by the party against whom estoppel is
asserted; (2) reasonable reliance on the misrepresentation by the party
asserting estoppel; and (3) detriment to the party asserting estoppel." .
.. The government, however, "may not be estopped on the same terms as any
other litigant." ... Instead, "La] party attempting to estop the government
bears a heavy burden” in sustaining its argument. ... At a minimum, the

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party must demonstrate some "affirmative misconduct" by the government in
addition to the other estoppel elements." ...

Id., 374 F.3d 424, 427 (6th Cir. 2004)(citations omitted).

Not having had the chance to define what the term "affirmative estoppel"
means in this Circuit, the Court turned to its sister circuits to see how they
defined the term, and then proceeded to announce:

"Finding the common approach of sister circuits prudential, we hold
that “affirmative misconduct" is more than mere negligence. It is an act
by the government that either intentionally or recklessly misleads the
Claimant. The party asserting estoppel against the government bears the
burden of proving an intentional act by an agent of the government and the
agent's requisite intent."

Ibid.

Just as "[t]rial judges are presumed to know the law," Walton v. Arizona,
497 U.S. 639, 653 (1990), "[1l]icensed attorneys are presumed competent in Ohio."
Ryder v. Kerns, 335 Fed.Appx. 529, 534 (6th Cir. 2009)(citation omitted). A
federal prosecutor, being a licensed attorney in Ohio, "is presumed to know the
law, and it is incumbent upon an attorney to know the law in an area in which
he is practicing," In re Gettys, 205 B.R. 515, 524 (6th Cir. 1997) (citations
omitted). Thus, federal prosecutors are considered.part of the law enforcement
Branch of the Government, and "we must expect as much from law enforcement,"
United States v. Hodson, 10 Wall. 395, 409 (1870), who are "trained in the law
and equipped with the tools to interpret and apply legal principles, understand
constitutional limits, and exercise legal judgment." Quilan v. AFI Servs., LIC,
486 B.R. 827, 839 n. 9 (S.D.Tex. 2013) (citations omitted, internal quotation
marks omitted).

Therefore, with the presumed knowledge of, and the understanding of, con-
stitutional limits, the Government's attorneys—agents for the United States—

did not exercise legal judgment in this case, nor in the thousands of other fed-

erql criminal cases, in charging and prosecuting Petitioner, and all the others,

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for crimes the federal statutes should not even exist for enforcement within the
territorial boundaries of any State, in district courts of the United States that
cannot be conferred with criminal jurisdiction therefore.

With criminal cases, the misconduct begins in the Grand Jury room, with the
Government's agent—the United States Attorney representative—misrepresenting to
the members of the Grand Jury that the accused is presumed to have committed a
constitutionally valid statutory crime, and should answer to the charge, when the
truth of the matter, after considering this Memorandum, the charge for which is
brought before the Grand Jury is one the Government is constitutionally foreclosed
from prosecuting an individual under the circumstances in this case. Then the
misrepresentation continues by filing the void indictment with the Court, and
haling the defendant into court to answer charges the agent will reasonable rely
the defendant will believe are valid, and then proceed to prosecute him and ex-
pose him to the deprivation of his liberty, to the detriment of the defendant,
and meets all the requirements for a showing of all the elements of equitable
estoppel, as well as the “affirmative misconduct" needed to establish the need
to estop the Government from continuing its unconstitutional, thus illegal, prac-
tice it has been perpetuationg for over one hundred years against the people of
the United States, and not just against this Petitioner.

Therefore, this case brings to the fore that there are real limits on federal
power—both in legislation by Congress and the “judicial Power" of the United
States, and that those limits must be respected by the Government, as was ex—

plained by the following statement:

"Constitutional limitations are placed on government to preserve con-
stitutional values in hard cases like these. "[C]Jonstitutional lines have
to be drawn, and on one side of every one of them is an otherwise sympa-
thetic case that provokes impatience with the Constitution and with the
line. But constitutional lines are the price of constitutional government."

Zelman v. Simmons-Harris, 536 U.S. 639, 686 (2002)(Souter, J., with whom Stevens,

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Ginsburg, and Breyer, JJ., join, dissenting) (citations omitted).

A district court in the Fifth Circuit put it very bluntly, writing:

"The judiciary owes considerable deference to the legislature's po-
litical policy where they are within the framework of the Constitution's
grants and restrictions. When it fails to heed the limits on its own pow-
er, however, it must be checked, for there is no discretion in the legis—
lature to suspend the Constitution at all, much less for its own aggran-
dizement. ‘Without that instrument, it is powerless as any other associa-
tion of men.' ...

"Much of the opinions that exalt tolerance are given to chatter about
‘coequal' branches and 'inconvenience' to the public interest. First, al-
though the branches are three and equal, the Constitution is supreme. Sec-—
ond, the adminstrative inconvenience that would result from the invalida-—
tion of a major ... law, ... should concern the courts, but to those in
power, the Constitution was meant to be a monumental inconvenience.

"Courts are required occasionally to intrude into the working of the
other branches, and they have been constitutionally obliged to impose the
law on them from the beginning."

United States v. Hagen, 711 F.Supp. 879, 883 (S.D.Tex. 1989)(citations omitted).

This above principle is easily characterized as coming from the Supreme

Court's admonition, saying:

"The people made the constitution, and the people can unmake it. It
is the creature of their own will, and lives only by their will. But this
Supreme and irresistible power to make or to unmake, resides only in the
whole body of the people; not in any sub-division of them. ‘The attempt of
any of the parts to exercise it is usurpation, and ought to be repelled
by those to whom the people have delegated their power of repelling it."

Cohens, supra, 6 Wheat., at 389.

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And this constitutional truth came right from the writings of James Madison,

he pointed out:

"As the people are the only legitimate fountain of power, and it is
from them that the constitutional charter, under which the several branches
of government hold their power, is derived, it seems strictly consonant to
the republican theory to recur to the same original authority, not only
whenever it may be necessary to enlarge, diminish, or new-model the powers
of government, but also whenever any one of the departments may commit en-
croachments on the chartered authorities of the others."

The Federalist No. 49 (J. Madison).

Unfortunately, it would appear the people cannot always depend on the fed-

eral courts to exercise their duty of "repelling" the "encroachments" committed

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by Congress against the people of this Nation, and it must be reminded what the
Supreme Court has admonished: "The Congress is a coequal branch of government
whose Members take the same oath we do to uphold the Constitution of the United
States." Northwest Austin Mun. Util. Dist. v. Holder, 557 U.S. 193, 204 (2009)
(citation omitted).

Hopefully, this Court will adhere to its oath, "to impose the law on them,"
Hagen, supra, as the Supreme Court admonishes:

"We will not shrink from our duty "as the bulwar[k] of a limited con-

stitution against legislative encroachments," The Federalist No. 78, p.

526 (J. Cooke ed. 1961)(A. Hamilton), but "[iJt is a well-established prin-

ciple governing the prudent exercise of this Court's jurisdiction that not

decide a constitutional question if there is some other ground upon which

to dispose of the case."
Northwest Austin, supra, 557 U.S. at 204 (citations omitted).

In this case, as presented, supra, there is no other way to rule in this
case but to declare the statutory provisions charged in this case as being be-

yond the power of Congress to legislate over the conduct, thus rendering the law

charged in this case unconstitutional. That is the beginning and the end of it.

CONCLUSION

As this amendment is shown to "relate back to the date of the original plead-
ing if the original and amended pleadings "ar[ilse out of the conduct, transac-
tion, or occurrence," Rule 15(c)(2)," Mayle v. Felix, 545 U.S. 644, 655 (2005),
that is the claim of ineffective assistance of counsel raised in the initial plead-
ing, this amended pleading, which also should incorporate the original claims,
should be considered, and an ORDER to show cause should issue to the Government
to answer these amended pleadings, along with the initial claims, as required by
Rule 5, Rules Governing Proceedings Under 28 U.S.C. § 2255, and this matter pro-
ceed, with the ruling of declaring the conviction void, for the reasons and mat-

ters of law presented in this Memorandum in Supprt of this collateral attack on

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the void conviction rendered by this Court, in this case.
pated: August 3. , 2018.
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Respectfully submitted,

ee A N Lorre

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Certificate of Service

I hereby certify that a copy of the foregoing AMENDED PLEADINGS was served,
by first class mail, postage prepaid, on this a day of __ August , 2018,
on:
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Asst. U.S. Attornev

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